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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE,
DR. ALICE WASHINGTON, STEVEN
HARRIS, ALEXIS CALHOUN, BLACK
VOTERS MATTER CAPACITY
BUILDING INSTITUTE, and THE
LOUISIANA STATE CONFERENCE OF
THE NAACP,                                      Civil Action No. 3:22-cv-00178
                                                SDD-SDJ
                           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity
as Secretary of State of Louisiana,

                           Defendant.



                               PROPOSED ORDER


        Upon consideration, the Court GRANTS Plaintiffs’ motion to vacate the stay

of proceedings.


Date:                                         _________________________
                                              HON. SHELLY D. DICK
                                              United States District Judge
